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                      IN THE UNITED STATES DISTRICT COURT
                                    FOR THE
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Whitebox Advisors, LLC,

Plaintiff,

v.                                                    Case No. 18 cv 1468
                                                      Judge Robert W. Gettleman
Earl of Sandwich (Atlantic City), LLC,

Defendant.

                                            ORDER

      Appellee Earl of Sandwich (Atlantic City), LLC, is directed to respond to appellant
Whitebox Advisors, LLC’s Motion for Leave to File Interlocutory Appeal [2] on or before
March 22, 2018. Appellant may file a reply on or before April 5, 2018. This matter is set for a
hearing on April 17, 2018, at 9:30 a.m.




Date: 3/7/2018
                                                    United States District Judge
                                                    Robert W. Gettleman
